                                       Case 2:17-cv-03178-CAS-KS Document 173 Filed 12/03/20 Page 1 of 1 Page ID #:4795




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                                              8                        UNITED STATES DISTRICT COURT
                                              9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                             11 JOHN BOWER,                                  Case No. 2:17-cv-03178-CAS (KSx)
                                             12               Plaintiff,
                 Beverly Hills, California
KIESEL LAW LLP




                                                                                             Judge: Hon. Christina A. Snyder
                    Attorneys at Law




                                             13         v.                                   Crtrm.: 8D – 8th Floor
                                             14 WRIGHT MEDICAL TECHNOLOGY, [PROPOSED] ORDER RE
                                             15 INC., a Delaware corporation; and STIPULATION OF DISMISSAL
                                                MICROPORT ORTHOPEDICS, INC., a
                                             16 Delaware corporation.             [Filed concurrently with Stipulation of
                                             17             Defendants.           Dismissal]
                                             18
                                             19                                 [PROPOSED] ORDER

                                             20         On December 3, 2020, the parties jointly submitted a Stipulation of Dismissal

                                             21 to the Court. Accordingly, this action shall be dismissed with prejudice in its entirety
                                             22 pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear its
                                             23 respective costs, including any possible attorney fees or other litigation expenses.
                                             24       IT IS SO ORDERED.

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                                             26   DATED: December 3, 2020
                                                                                                Hon. Christina A. Snyder
                                             27                                                 United States District Court Judge
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                                                                [PROPOSED] ORDER RE STIPULATION OF DISMISSAL
